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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

       AMERICAN OVERSIGHT,           )
                                     )
             Plaintiff,              )
                                     )               Civil Action No. 1:18-cv-01272 (CKK)
                     v.              )
                                     )
       U.S. DEPARTMENT OF            )
       TRANSPORTATION,               )
                                     )
             Defendant.              )
       _____________________________ )

                                 ANSWER AND DEFENSES

       Defendant, the United States Department of Transportation (“DOT” or “Defendant”),

hereby answers the claims brought under the Freedom of Information Act (“FOIA”) as follows:

                                        FIRST DEFENSE

       Defendant reserves the right to amend this Answer to assert any other matter that

constitutes an avoidance or affirmative defense under Federal Rule of Civil Procedure 8(c).

                                      SECOND DEFENSE

       Any relief is limited to that provided for in 5 U.S.C. § 552(a)(4)(B).

                                       THIRD DEFENSE

       Plaintiff is not entitled to compel the production of responsive records protected from

disclosure by one or more of the exemptions or exclusions to FOIA, 5 U.S.C. § 552, or the Privacy

Act, 5 U.S.C. § 552a.
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                                           FOURTH DEFENSE

          As to some or all of the claims asserted in this action, Plaintiff has failed to state a claim

upon which relief may be granted under FOIA.

                                             FIFTH DEFENSE

          Plaintiff is not entitled to attorneys’ fees or costs.

                                            SIXTH DEFENSE

          Defendant has conducted adequate searches in response to the underlying requests under

FOIA, 5 U.S.C. § 552, as amended, or otherwise is in the process of completing searches and

releases of non-exempt, responsive records, or segregable portions thereof. Defendant further

avers that some or all of the requested records may be exempt, in full or in part, from release under

FOIA exemptions.

                                          SEVENTH DEFENSE

          Defendant denies each and every allegation contained in the Complaint except as may have

been expressly admitted herein. To the extent the Complaint refers to or quotes from external

documents, statutes, or other sources, Defendant may refer to such materials for their accurate and

complete contents in response; however, Defendant’s references are not intended to be, and should

not be construed to be, an admission that the cited materials: (a) are correctly cited or quoted by

Plaintiff; (b) are relevant to this, or any other, action; or (c) are admissible in this, or any other,

action.




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                                           COMPLAINT 1

        1.      The allegations in Paragraph 1 constitute Plaintiff’s characterization of its case and

the nature of the action to which no response is required. To the extent that a response is required,

Defendant admits only that Plaintiff filed its Complaint purporting to bring claims under FOIA.

Defendant avers that the statutes cited speak for themselves and respectfully refers the Court to

those statutes for a full and accurate description of their contents.

                                      JURISDICTION AND VENUE

        2.      This paragraph contains conclusions of law, to which no response is required. To

    the extent that a response is deemed necessary, Defendant admits only that this Court has

    jurisdiction subject to the limitations of FOIA. Defendant further avers that the statutes cited

    speak for themselves.

        3.      This paragraph contains conclusions of law, to which no response is required. To

    the extent that a response is deemed necessary, Defendant admits only that venue is proper in

    the judicial district. Defendant further avers that the statutes cited speak for themselves.

        4.      This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

                                                  PARTIES

        5.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations contained in Paragraph 5.




1Merely for ease of reference, Defendant’s Answer replicates the headings contained in the Complaint.
Although Defendant believes that no response is required to such headings, to the extent a response is
deemed required and to the extent those headings and titles could be construed to contain factual
allegations, those allegations are denied.
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       6.      Admit that DOT is a department of the executive branch of the U.S. Government

headquartered in Washington, DC. The remaining allegations in Paragraph 6 contain conclusions

of law to which no response is required. To the extent a response is deemed necessary, deny.

                                        STATEMENT OF FACTS

       7.      Admit that Plaintiff submitted a FOIA request to DOT dated January 10, 2018.

Defendant avers that the request speaks for itself and respectfully refers the Court to the request

for a full and accurate statement of its contents.

       8.      This paragraph contains a description of Plaintiff’s FOIA request. Defendant avers

that the request speaks for itself and respectfully refers the Court to the request for a full and

accurate statement of its contents.

       9.      Admit.

       10.     Admit.

                                  Exhaustion of Administrative Remedies

       11.     Admit that as of May 31, 2018, DOT has not notified Plaintiff of a final

determination regarding its FOIA request and has not produced all requested records. The

remaining allegations in Paragraph 11 contain conclusions of law to which no response is required.

       12.     This paragraph contains conclusions of law to which no response is required.

                                              COUNT I
                                  Violation of FOIA, 5 U.S.C. § 552
                    Failure to Conduct Adequate Searches for Responsive Records

       13.     Defendant incorporates its responses to Paragraphs 1-12.

       14.     This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.


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       15.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

       16.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

       17.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

       18.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

                                          COUNT II
                               Violation of FOIA, 5 U.S.C. § 552
                          Wrongful Withholding of Non-Exempt Records

       19.    Defendant incorporates its responses to Paragraphs 1-18.

       20.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

       21.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

       22.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

       23.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

       24.    This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.




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       25.     This paragraph contains conclusions of law to which no response is required. To

the extent a response is deemed necessary, deny.

                                        REQUESTED RELIEF

       The remainder of Plaintiff’s Complaint contains Plaintiff’s “Requested Relief” to which

no response is required. To the extent that this paragraph may be deemed to contain factual

allegations, they are denied.

       WHEREFORE, having fully answered, Defendant requests judgment and relief against

Plaintiff as follows:

       a)      that the claims against Defendant are dismissed with prejudice and that Plaintiff
               takes nothing and is granted no relief;

       b)      that Defendant be awarded its costs and disbursements incurred in defending
               this matter; and

       c)      such other and further relief to which Defendant is entitled.


Dated: July 5, 2018                   Respectfully submitted,

                                      JESSIE K. LIU, D.C. Bar No. 472845
                                      United States Attorney

                                       DANIEL F. VAN HORN, D.C. Bar No. 924092
                                       Chief, Civil Division

                                    By: /s/ Scott Leeson Sroka
                                      SCOTT LEESON SROKA, Member of New York Bar
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 5th day of July, 2018, that service of the foregoing

Defendant’s Answer has been made on counsel of record through the Court’s ECF system.




                                          /s/ Scott Leeson Sroka
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